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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  RONALD W. HARGIS and                            )   CAUSE NO. 1:08-CV-00339-RLY-TAB
  AMY HARGIS,                                     )
                                                  )
                        Plaintiffs,               )
                                                  )
         v.                                       )
                                                  )
  WELLSPEAK ENTERPRISES, INC. d/b/a               )
  AJ ENGINEERING; and KOHLER                      )
  COATING,                                        )
                                                  )
                        Defendants.               )
  FLUTES, INC.                                    )
                                                  )
                 Intervening Defendant.           )


                        NOTICE OF SATISFACTION OF JUDGMENT

         Plaintiffs, Ronald W. Hargis and Amy Hargis, by counsel, acknowledge receipt of

  payments, paid on behalf of Defendant, Wellspeak Enterprises, Inc. d/b/a AJ Engineering (“AJ

  Engineering”), and hereby release the judgment in the amount of $5,600,000.00, plus interest and

  costs entered for Plaintiffs against AJ Engineering on March 30, 2012, and amended on April 5,

  2012, said judgment having been satisfied in full. As this judgment has been satisfied, all of

  Plaintiffs’ claims in the above captioned matter are hereby released and discharged.


                                                      Michael W. Phelps
                                                      Attorney for Plaintiffs

                                                      Respectfully submitted:

                                                      /S/ Michael W. Phelps
  KEN NUNN LAW OFFICE
  104 S. Franklin Road
  Bloomington, IN 47404
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of January, 2012, a copy of the foregoing was filed

  electronically. Notice of this filing will be sent to the following parties by operation of the

  Court’s electronic filing system. Parties may access this filing through the Court’s system.

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                                                      /s/ Michael W. Phelps


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